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315 Montgomery Street,9:b Floor                                                      t FicЮ
                                                               555ヽ Vest Fifth,31‐            r
San Franctsco,Ca‖ Fornia,4104                                 Los Angeles,California 90013
Telephone:(41S)989■ 253                                       Tclcphonc:(213)62S‐ 1703
atttStCVOnttruolosbc810balonct


March 24,2021

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Ruth C.Pinkel
Assistant United States Attomcy
1500 United States Coutthouse
312 NoHh Spring Street
Los Angeles,Califoria 90012
mth.pi:lkel@usd可 .gOV

RE: VP,itedSrar,stt βαうa々 Brο                tti C群2'‐ 0'227‐ RCK
      Follow‐ Up Discovery Requcst
                                 "αRcgarding


Dear Counsel:

Thank you For thc 7th discovcry production r∝ eived on March 22,2021.
h light orthe gOVemment's reprcsentation thatit will pЮ duce               addidonal discoveり 行Om
                   岨― 偽
                      郎                                                     P tteれ                e nquests
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   ユ11蹟 ira盈 軍
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              記駕
               ぞ翌
                ∴鰍」
    1. The identity oFaH charged and uncharged co‐ consPiratons as al                             in the riled
       InfoIIBEatiOn and and as described in  Piea Agreementin



   2. All charging dOcuments Or nOn‐ prosccution agrcements for ali                                       O‐
        conspirators as ameged in the raled lnfOIEIEatiOn and as desc苗         bed in the Plea
        ABrccmentin
                                                                                                                 Case 2:20-cr-00224-RGK Document 88-7 Filed 11/30/21 Page 2 of 5 Page ID #:728




   3. All law cnforcement reports ofinteⅣ icws,copics ofaudio and/or video
       in俺 Ⅳiews,suⅣ eillance rcponsぅ recOrdings and notes invol宙 ng the charged and
        uncharged co̲consPiratOrs as al              in the rEled lnaoHnation and as described in


       ̲Agreemcntin
4. Picasc providc a list Ofa‖ law enforcement agencics、 vhich investigated,
      conttibuted any infolHEatiOn Or patticipated in the                                  in the in
      the raled lnR)]::Bation and in the Plea                in



5。   Please provide any investigativc reports,communications,infoHnation,
      documents prepared by and pЮ vided to law eilrorcement from a‖ financial
      instimtions defrauded by                   a‖ eged in pattBraphs i and 2 ofthe
      飼led lnfOnnationi

6. Please provide a copy orthc Courttttnscript                                    S     ty pleas to
     the rlled lnfOHnation and Plea                   inじぬ搬ガ ∫′
                                                              ar9∫ 枕




7, Pleasc provide the nalnes ofthe other redera‖         y‐ insured     financial institutions
     defrauded by the conspiracy as aneged in                         8c oFthe nied lnfowElatiOn in
     肋 ″?′ S′ artt ll

8. Please provide a copy                        ̀tseif‐ repOH to the State Bar ofCalifoHlia,
    and any othcr barto which he                   as re■ uired   in pattBraph 2(i)oFthe Plea
     Agreementin肋 ″?′ dr,′ ?d枕

9. Please provide the inteⅣ iews,repons,dOcumcnts and coHlmunications
    establishing thc calculation fOr the total ioss igure ror        s bank
     fraud as dcscribed required in paragraph 12 oFthc PIca Agreementin〔 /打 Jr?ど
     Srα ′
         奮   砿              )
10.Please prOvide the names oram entities and businesses con甘                o!led by Edgar
     Sargsyan in addition to thc Pillar Law G「 oup and Regdalin 13Ю up as anged in in
     paragraph 8(b)ofthe hfomatbnin υ′              α′
                                             ,Fr9∬ ざ′ θd枕                         ,中

II.Please provide the narnes,immigration flles or visa apphcation ttles,and any
     repoHs ofinteⅣ iew ofthe identities ofpersons who had been issued Ji visas
     arler the visa holder had depatted the United States" as aIIged in        8(a)oF
     the lnfon■ atiOn in Un声 ?′   Sr17′   〔
                                          番                   刀   ,




12.Please provide ali bank documents,the stolen Ji visa holder's identity,
    investigative reports,thc namc oFthe co‐ consPiratOr ttauduiently using the credit
     card for each overt act as   anged in paragraph 9 ofthe lnfOmnation in υttf′ θ
                                                                                  ∬∫′
                                                                                    α胞む
                                                                                                       Case 2:20-cr-00224-RGK Document 88-7 Filed 11/30/21 Page 3 of 5 Page ID #:729




13.Copics oFan state and fcderal search warrant applications,suppoHing attdavits
   and Orders,an state,administtative and Federal subpoenas,any wire tap
     applications and orders,and copics ofa‖        intewiews cOnducted in thc
      investigation O                   and his co‐ conSpirators lbr the crirnes aneged in
      the rlled lnfollilation and as described in thc PIca ABreeincnt ial助      ,fr9′ Srar(蓉   Й
                                                          This request includes
      production oFthe cvidence,Tnaterials and items seizcd or produccd as a resuit or
      the use ofthese investi8ative toolsi


14.AII drarモ and final Unitcd States Probation Presentence         RcpOHs(PSR)prepared
      rO―                   a resuh oFns 8u‖ り plea to the InfollBlation and in
      accordance with the Plea Agreementin υ′ PFr9′ d′ α′
                                                        ￠∫
                                  This requcst includes all fbHils completed by ol
      docu!ncnts sub■ litted by                    forthe prcparation ofthesc PSRs as weli
      as the panies'OtteCtiOns to anything in the drarモ    Or rlilal PsR;

15。   Plcasc providc a‖ known uncharged criminal conduct conwnittcd by
                  weW as the identities oFany victinl,、 vhether an individual,institution
      Or entiり ,Of                   uncharged crirninat conducti

16. Plcase provide an known false statements inadc by

17. PIcase providc aW k,lown businsses,LLCs,cOrporatiOns,d/b/a's,cntitics
   con甘oHed or perated by

18。   Please provide aW statements,recordings,videos o                        regarding the
      chargcs contained in the riled lnfoliBlation and with the adnlissions in thc Plea
      Agreement in υttFr?ど dr,′ ?d枕                                                         ;
19.Please provide aH documents,investigative Fnaterials)summaries,re,oHs,
   intcⅣ icws,corcspondence,cmails,texts,and itcms suppoHing thc allcgations in
      Count III ofthe rlled in魚 )HttiatiOn and supporting the ad■ lissions in the Piea
      Agrccment scction titled               oFa Federa1 0Fical―   IttSI   SPccial A8Cnt''in
      [ナ
       打Jr●ど∫ra熔 枕                                                             This includes
      but is not linaited to the names orthe individuals queried by the lttSI SA,thc real
      propew                     anted tO purchase,the identity orthe ceman citizen
      described therein,copies orthe computer print‐ outs provided by the 1lSI SA,the
                                                                                            m°
      rども二                      遺亀記駕         凛 温 電躍 留 ζ費躍摯器 ♂
      nd萌 duЛ and evmence ofthe money purpoHed to have been p菰 db…
                tO thC HSI SA,his accounts and his wife;
   ―
20.Pleasc pЮ vide thc idcntity ofthe individualin the vchictc wit
      and name oFthe registered fo this vehicle、 vhcn the FBI Placard was presented to
                                                                                                   Case 2:20-cr-00224-RGK Document 88-7 Filed 11/30/21 Page 4 of 5 Page ID #:730




      the law cnforccmcnt ottccr;

21.TO thc cxtcnt this rcquest is not duplicitous to thc abovc or other prcvious
      discovery requestsぅ please prowidc a‖ reports,witness statements,videos,audio
      recordings,documcnts,chccks,crcdit card statements,bank statements,items
    Case 2:20-cr-00224-RGK Document 88-7 Filed 11/30/21 Page 5 of 5 Page ID #:731



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                seized by―h wamnts or produ∝d         by subpoemas,invoiving he invesiga領 on,
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                21‐005卜   RGK.                                           ̀税

         Thank you for your anticipattd cooperation on dtese Fequ鶴   .




         Sincerely


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         Steven Fi Omel
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